      Case 2:18-cv-00503-JTM-JCW Document 145-3 Filed 09/10/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 ROBERT JONES,

         Plaintiff,                                    Civil Action No. 18-503

 v.                                                    Section H
                                                       Judge Jane Triche Milazzo
 LEON CANNIZZARO, JR., in his official
 capacity; ABC INSURANCE COMPANIES                     Division 2
 1–10,                                                 Magistrate Judge Joseph Wilkinson, Jr.

         Defendants.


       DECLARATION OF MATTHEW J. PAUL IN SUPPORT OF MOTION FOR
           PARTIAL SUMMARY JUDGMENT CONCERNING ALLEGED
          BRADY VIOLATIONS IN CASES RESOLVED BY GUILTY PLEA

        I, MATTHEW J. PAUL, declare as follows pursuant to 28 U.S.C. § 1746:

        1.      I am an attorney admitted to practice before this Court who is representing Mr.

Cannizzaro, in his official capacity, in the above-captioned case.

        2.      I respectfully submit this declaration in order to place certain exhibits before the

Court in support of Mr. Cannizzaro’s Motion for Partial Summary Judgment Concerning Alleged

Brady Violations in Cases Resolved by Guilty Plea.

        3.      Attached as Exhibit 1 is a true and correct copy of the August 13, 1992 indictment

in Orleans Parish Criminal District Court Case No. 357-917.

        4.      Attached as Exhibit 2 is a true and correct copy of the June 11, 1992 indictment in

Orleans Parish Criminal District Court Case No. 356-745.

        5.      Attached as Exhibit 3 is a true and correct copy of a transcript of the April 2, 1996

proceedings in Orleans Parish Criminal District Court Case Nos. 356-745 and 357-917.




                                                  1
    Case 2:18-cv-00503-JTM-JCW Document 145-3 Filed 09/10/19 Page 2 of 2



       6.     Attached as Exhibit 4 is a true and correct copy of a “Waiver of Constitutional

Rights and Plea of Guilty” form signed by Robert Jones in connection with Orleans Parish

Criminal District Court Case Nos. 356-745 and 357-917.

       7.     Attached as Exhibit 5 is a true and correct excerpt of a transcript of the July 18,

2019 deposition of Robert Jones.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on September 10, 2019.

                                                     /s/ Matthew J. Paul




                                                 2
